                                                                       Case 2:23-bk-17276-BR       Doc 353 Filed 04/29/25 Entered 04/29/25 12:51:49    Desc
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                                                                      1    David B. Zolkin – Bar #155410
                                                                           WEINTRAUB ZOLKIN TALERICO & SELTH LLP
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                                                                      3    Los Angeles, CA 90025
                                                                           Telephone: (310) 207-1494
                                                                      4    Email: dzolkin@wztslaw.com

                                                                      5    General Bankruptcy Counsel to
                                                                      6    Chapter 11 Debtor and Debtor in Possession,
                                                                           KOMBU KITCHEN SF LLC, dba NIBLL
                                                                      7

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                                                                      9
                                                                                                    UNITED STATES BANKRUPTCY COURT
                                                                      10
                                                                                      CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
W EINTRAUB Z OLKIN T ALERICO & S ELTH LLP




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                                11766 W ILSHIRE B LVD ., S UITE 730




                                                                      13   In re:                                         Case No. 2:23-bk-17276-BR
                                    L OS A NGELES , C A 90025




                                                                      14   KOMBU KITCHEN SF, LLC, dba NIBLL,              Chapter 11
                                                                      15   a California limited liability company,
                                                                                                                          Subchapter V
                                                                      16               Debtor and Debtor In Possession.
                                                                                                                          DECLARATION OF KEVÉN
                                                                      17                                                  THIBEAULT REGARDING POST-
                                                                                                                          PETITION FINANCING ON AN
                                                                      18                                                  UNSECURED BASIS (MARCH 2025)
                                                                      19
                                                                                                                          [No Hearing Required]
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                                                                                        DECLARATION RE POST-PETITION FINANCING ON AN UNSECURED BASIS
                                                                  Case 2:23-bk-17276-BR                        Doc 353 Filed 04/29/25 Entered 04/29/25 12:51:49                                          Desc
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                                                                  1                                            D E C L A R A TI O N O F K E V É N T HI B E A U L T
                                                                  2               I, K e v é n T hi b e a ult , h er e b y d e cl ar e:
                                                                  3               1.          I a m a n i n di vi d u al o v er t h e a g e of ei g ht e e n a n d C E O of K O M B U KI T C H E N S F,
                                                                  4   L L C, d b a NI B L L, t h e C h a pt er 1 1 D e bt or a n d D e bt or i n P oss essi o n (t h e “ D e bt or ”) h er ei n. E a c h of
                                                                  5   t h e f a cts c o nt ai n e d i n t his d e cl ar ati o n is b as e d u p o n m y p ers o n al k n o wl e d g e a n d, if c all e d as a
                                                                  6   wit n ess, I c o ul d a n d w o ul d c o m p et e ntl y t estif y t h er et o.
                                                                  7               2.          T h e D e bt or c o m m e n c e d t his B a n kr u pt c y C as e b y fili n g a p etiti o n f or r eli ef u n d er
                                                                  8   C h a pt er 1 1 , S u b c h a pt er V, of t h e B a n kr u pt c y C o d e o n N o v e m b er 1 , 2 02 3 (t h e “P etiti o n D at e ”).
                                                                  9   T h e D e bt or c o nti n u es t o c arr y o ut its b usi n ess o p er ati o ns a n d m a n a g e its fi n a n ci al aff airs as a
                                                                 10   D e bt or i n P oss essi o n p urs u a nt t o 1 1 U. S. C. § § 1 1 0 7 a n d 1 1 0 8. N o tr ust e e, e x a mi n er, or c o m mitt e e
L LP




                                                                 11   h as b e e n a p p oi nt e d i n t h e B a n kr u pt c y C as e .
EI N T R A U B Z O L KI N T A L E RI C O & S E L T H




                                                                 12               3.          I s u b mit t his d e cl ar ati o n s etti n g f ort h t h e f u n ds a d v a n c e d t o t h e D e bt or fr o m m y wif e
          1 1 7 6 6 W I L S H I R E B L V D ., S U I T E 7 3 0




                                                                 13   a n d m e, w hi c h w er e us e d t o f u n d o p er ati o ns a n d t o p a y criti c al e x p e ns es of t h e D e bt or.
                  L OS A N G E L ES ,C A 90025




                                                                 14               4.          D uri n g t h e m o nt h of M ar c h               2 0 2 5 , t h e f u n ds pr o vi d e d vi a t h e DI P L o a n t ot al
                                                                 15   $ 5 3, 5 8 1. 2 2 . A s u m m ar y a n d d et ail e d list of t h e criti c al a n d o p er ati o n e x p e ns es p ai d is att a c h e d
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                                                                 19   t h e f or e g oi n g is tr u e a n d c orr e ct t o t h e b est of m y k n o wl e d g e. E x e c ut e d t his _ _2_ 8t
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                                                                                             D E C L A R A TI O N R E P O S T -P E TI TI O N FI N A N CI N G O N A N U N S E C U R E D B A SI S
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                                    EXHIBIT	  1	  
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Summary of Advances
March 2025

Expense                                          SUM of Amount
1099 Payroll                                           2,976.69
Bank Fee                                               1,607.88
Bus. Travel                                            4,784.87
Business Services                                       412.49
Business Subscription                                    89.10
Catering COGS LA                                       7,719.67
Catering COGS LV                                       3,783.53
Catering COGS SF                                        729.27
Catering Equipment                                      755.25
Event Decor                                            2,778.71
Event Rentals                                         12,341.07
Event Vendor Services                                  2,846.30
Meals and Entertainment                                2,834.28
Office Equipment                                        312.75
Office Supplies                                         810.12
Parking                                                    2.50
Test Kitchen Office Rent                               6,475.00
Transportation                                          423.66
Transportation - Fuel                                   546.43
Transportation- Fleet Maintenance                       564.72
Utilities                                                786.93
Grand Total                                           53,581.22
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Advances: Detail
March 2025

Date               Description                                 Amount Expense
3/1/2025           Gas                                            280.08   Utilities
3/1/2025           Electric                                      344.775   Utilities
3/1/2025           Water                                          129.58   Utilities
3/1/2025           Internet                                       32.495   Utilities
3/1/2025           Test Kitchen Office Rent                        6475    Test Kitchen Office Rent
3/4/2025           AMZ 111-7090217-7846667                        883.52   Catering COGS LA
3/4/2025           AMZ 111-7958971-1133802                        207.39   Office Supplies
3/2/2025           AMZ 111-8417793-5426666                         15.61   Office Supplies
3/6/2025           AMZ 111-9527189-1977869                         28.48   Catering COGS LA
3/31/2025          AMZ 111-9722170-0107406                         23.69   Catering COGS LA
3/21/2025          AMZ 113-1131073-2918612                        351.27   Catering COGS LA
3/21/2025          AMZ 113-1131073-2918612                        473.24   Catering Equipment
3/3/2025           AMZ 113-2588164-0997063                         28.58   Catering COGS LA
3/2/2025           AMZ 113-2903968-9670608                         87.75   Office Equipment
3/23/2025          AMZ 113-3017592-2308236                        608.78   Catering COGS LA
3/28/2025          AMZ 113-3957126-6073057                          37.7   Catering COGS LA
3/1/2025           AMZ 113-4426411-8966619                        224.99   Catering COGS LA
3/28/2025          AMZ 113-4455343-3588241                         32.57   Catering COGS LA
3/2/2025           AMZ 113-6230776-4508225                         61.42   Catering COGS LA
3/28/2025          AMZ 113-7411448-9503432                         11.59   Catering COGS LA
3/2/2025           AMZ 113-8992231-7800225                        336.98   Office Supplies
3/14/2025          AMZ 113-9675621-5731437                         67.55   Catering COGS LA
2/27/2025          RESTAURANT DEPOT                               131.96   Catering COGS LA
2/27/2025          SPROUTS FARMERS MAR                             70.47   Catering COGS LA
2/28/2025          SPROUTS FARMERS MAR                             101.2   Catering COGS LA
2/28/2025          Staples Inc                                    250.14   Office Supplies
3/1/2025           ANNUAL MEMBERSHIP FEE                             95    Bank Fee
3/3/2025           SPROUTS FARMERS MAR                             17.98   Catering COGS LA
3/3/2025           RESTAURANT DEPOT                                143.3   Catering COGS LA
3/4/2025           RESTAURANT DEPOT                               247.05   Catering COGS LA
3/4/2025           NORTHGATE MARKET #034                           20.97   Catering COGS LV
3/5/2025           SHELL OIL10052314019                           128.64   Transportation - Fuel
3/5/2025           BITETTO'S TOW SERVICE CEN                        221    Transportation- Fleet Maintenance
3/5/2025           SMART AND FINAL 313                             12.41   Catering COGS LV
3/6/2025           TRADER JOE S #280                              229.15   Catering COGS LV
3/6/2025           FLORAL SUPPLY SYND #5                            53.1   Event Decor
3/6/2025           LAS VEGAS FLORAL WHOLESAL                      207.91   Event Decor
3/6/2025           LAS VEGAS FLORAL WHOLESAL                      226.04   Event Decor
3/6/2025           TOTAL WINE AND MORE                            972.32   Catering COGS LV



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Advances: Detail
March 2025

Date               Description                               Amount Expense
3/6/2025           TST*BOOTLEGGER BISTRO                        632.11   Meals and Entertainment
3/6/2025           BB DINER LAS VEGAS #208                       27.12   Meals and Entertainment
3/6/2025           HOMEGOODS #313                               216.74   Event Decor
3/6/2025           RESTAURANT DEPOT                             711.72   Catering COGS LV
3/6/2025           SQ *JUICE STARS DOWNTOWN                      655.7   Meals and Entertainment
3/6/2025           COSTCO WHSE #0563                              83.9   Catering COGS LV
3/6/2025           WHOLEFDS LVB 10286                           222.28   Catering COGS LV
3/7/2025           WAL-MART #4356                                43.09   Catering COGS LV
3/7/2025           KELLY PAPER                                   62.62   Event Decor
3/7/2025           WAL-MART #4356                                 23.3   Event Decor
3/7/2025           TOTAL WINE AND MORE                           128.2   Catering COGS LV
3/7/2025           MICHAELS STORES 8774                         362.73   Event Decor
3/7/2025           HOTELTONIGHT*HOWARD JO                          80    Bus. Travel
3/7/2025           BKG*HOTEL AT BOOKING.C                       477.31   Bus. Travel
3/8/2025           HOMEGOODS #313                                12.97   Event Decor
3/8/2025           HOMEGOODS #313                                19.44   Event Decor
3/8/2025           WHOLEFDS HEN 10219                           185.05   Catering COGS LV
3/9/2025           WAL-MART #2593                                  98    Event Decor
3/9/2025           PURCHASE INTEREST CHARGE                      81.22   Bank Fee
3/9/2025           SAMSCLUB.COM                                  164.8   Catering COGS LV
3/11/2025          ARIA HTL VALET                                  43    Bus. Travel
3/11/2025          TST*BOOTLEGGER BISTRO                        189.32   Meals and Entertainment
3/11/2025          TST* KHOURY'S MEDITERRANE                     71.15   Meals and Entertainment
3/11/2025          COSTCO WHSE #0563                              325    Catering COGS LA
3/11/2025          RESTAURANT DEPOT                             441.07   Catering COGS LA
3/12/2025          TX DE BRAZIL LAS VEGAS                       254.54   Catering COGS LA
3/12/2025          PARK MGM - HTL VALET                            43    Bus. Travel
3/12/2025          PARK MGM-LAPIZZA LAPAS                       256.75   Meals and Entertainment
3/12/2025          CHEVRON 0201595                               80.45   Catering COGS LA
3/12/2025          RESTAURANT DEPOT                             132.73   Catering COGS LA
3/13/2025          FSP*ONTARIO INTERNATIONAL                       80    Bus. Travel
3/13/2025          RESTAURANT DEPOT                             273.19   Catering COGS SF
3/13/2025          RESTAURANT DEPOT                             108.38   Catering COGS SF
3/14/2025          EXECUTIVE INN AND SUIT                       304.08   Bus. Travel
3/17/2025          ALBERTSONS.COM #0798                          95.08   Catering COGS LA
3/17/2025          RESTAURANT DEPOT                             444.34   Catering COGS LA
3/17/2025          SPROUTS FARMERS MAR                            5.99   Catering COGS LA
3/17/2025          99 RANCH #1005                                 2.07   Catering COGS LA
3/18/2025          SHELL OIL 12597232011                         90.26   Transportation - Fuel



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Advances: Detail
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Date               Description                                Amount Expense
3/18/2025          SQ *ACI JET SNA - VALET                          55    Bus. Travel
3/18/2025          REYES AUTO GLASS                              343.72   Transportation- Fleet Maintenance
3/18/2025          RESTAURANT DEPOT                               13.86   Catering COGS LA
3/18/2025          RESTAURANT DEPOT                              294.98   Catering COGS LA
3/18/2025          JETSUITEX INC.                                 1680    Bus. Travel
3/18/2025          ARIA - ADV SALES                              223.23   Bus. Travel
3/18/2025          ARIA - ADV SALES                              203.23   Bus. Travel
3/19/2025          RESTAURANT DEPOT                               89.43   Catering COGS LA
3/19/2025          SMART AND FINAL 925                             8.76   Catering COGS LA
3/19/2025          SMART AND FINAL 313                            13.14   Catering COGS LA
3/19/2025          ARIA - FRONT DESK                              62.36   Bus. Travel
3/19/2025          PARK MGM - HTL VALET                              5    Bus. Travel
3/19/2025          MICHOACAN GOURMET MEXI                         58.96   Meals and Entertainment
3/19/2025          SHELL OIL 93004128980                          21.55   Transportation - Fuel
3/19/2025          EATALY CUCINA DEL MERC                          45.5   Meals and Entertainment
3/19/2025          ARIA - FRONT DESK                             433.32   Bus. Travel
3/19/2025          HOMEGOODS #312                                 61.04   Event Decor
3/20/2025          UEP*MINGS TASTY RESTAURAN                     103.79   Meals and Entertainment
3/20/2025          RESTAURANT DEPOT                              170.75   Catering COGS LA
3/20/2025          FEDEX OFFIC17000017020                         37.35   Business Services
3/20/2025          PURCHASE INTEREST CHARGE                      429.87   Bank Fee
3/21/2025          appwisey                                         45    Business Services
3/23/2025          AMAZON MKTPL*CH75K0IE3                         43.72   Catering COGS LA
3/25/2025          ARCO #42515                                      80    Transportation - Fuel
3/25/2025          TRADER JOE S #046                              11.98   Catering COGS LA
3/25/2025          RESTAURANT DEPOT                              157.78   Catering COGS LA
3/25/2025          CITY OF SANTA MONICA                             2.5   Parking
3/26/2025          HUNTLY HOTEL SANTA MON                         555.5   Bus. Travel
3/26/2025          SPROUTS FARMERS MAR                            17.98   Catering COGS LA
3/26/2025          VONS #2328                                     25.31   Catering COGS LA
3/26/2025          RESTAURANT DEPOT                               69.47   Catering COGS LA
3/26/2025          RESTAURANT DEPOT                              206.02   Catering COGS LA
3/26/2025          COSTCO WHSE #0418                              10.99   Catering COGS LA
3/26/2025          CALIFORNIA LOCKSMITH SECU                       225    Office Equipment
3/26/2025          AMAZON MKTPL*T10SQ8LQ3                         18.95   Catering COGS LA
3/26/2025          COSTCO DELIVERY 563                            347.7   Catering COGS SF
3/28/2025          RESTAURANT DEPOT                             1346.69   Catering COGS LA
3/31/2025          THE HOME DEPOT #8988 LAKE ELSINORECA           228.4   Event Decor
3/1/2025           JUMPSPEAK #F23B0080 JUMPSPEAK.COMDE             119    Business Services



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Date               Description                                  Amount Expense
3/5/2025           OPENAI *CHATGPT SUBSCR OPENAI.COM CA               20    Business Subscription
3/10/2025          BAYMONT INN AND SUITES 702-8020440 NV           414.93   Bus. Travel
3/11/2025          UBER *TRIP HELP.UBER.COMCA                       20.95   Transportation
3/11/2025          UBER *TRIP HELP.UBER.COMCA                       57.99   Transportation
3/11/2025          UBER *TRIP HELP.UBER.COMCA                        21.7   Transportation
3/14/2025          DROPBOX*3DQFG9Z6TC9T DROPBOX.COM CA              11.99   Business Services
3/21/2025          INTUIT *QBooks Online CL.INTUIT.COMCA             17.5   Business Services
3/27/2025          INTEREST CHARGE ON PURCHASES                    357.87   Bank Fee
3/29/2025          UBER *TRIP HELP.UBER.COMCA                      124.91   Bus. Travel
3/29/2025          UBER *TRIP                                         4.5   Event Decor
3/3/2025           UBER *EATS                                       146.3   Meals and Entertainment
3/5/2025           UBER *EATS                                      343.41   Meals and Entertainment
3/5/2025           RICHIE'S DINER #201                             115.94   Meals and Entertainment
3/5/2025           REBEL PARTY STORES                                587    Event Decor
3/5/2025           SHELL OIL10052314019                             17.47   Transportation - Fuel
3/6/2025           GOOGLE *Perplexity AI                            19.99   Business Services
3/8/2025           UBER *TRIP                                       21.98   Transportation
3/9/2025           UBER *TRIP                                          3    Transportation
3/18/2025          UBER *TRIP                                       28.08   Transportation
3/19/2025          UBER *TRIP                                       48.96   Transportation
3/19/2025          UBER *TRIP                                         45    Transportation
3/19/2025          SUN PAC STORAGE CONTAI                             95    Business Services
3/23/2025          INTEREST CHARGE-PURCHASES                        92.46   Bank Fee
3/25/2025          UBER *ONE                                          96    Transportation
3/27/2025          JOHN WAYNE AIRPORT                                 80    Transportation
3/28/2025          THE UPS STORE 0115                               24.67   Business Services
3/28/2025          CANVA* I04469-10212407                             30    Business Services
3/25/2025          Expenses Tony Robbins                             150    Catering COGS LV
3/20/2025          Gas mileage                                       100    Transportation - Fuel
3/13/2025          Tony Payroll                                     1600    1099 Payroll
3/10/2025          Own it gala Bartender                             625    Event Vendor Services
3/8/2025           Expenses Tony Robbins                             100    Catering COGS LV
3/8/2025           Expenses Tony Robbins                             200    Catering COGS LV
3/7/2025           Expenses Tony Robbins                             200    Catering COGS LV
3/6/2025           HOMEGOODS #313 HENDERSON NV                     359.64   Catering COGS LV
3/6/2025           LOWES #01719* LAS VEGAS NV                      173.23   Catering Equipment
3/1/2025           RSVP PARTY RENTALS 9LAS VEGAS      NV          5619.89   Event Rentals
3/3/2025           BLUEPRINT STUDIOS 00S SAN FRAN      CA         4024.91   Event Rentals


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March 2025

Date               Description                                             Amount Expense
3/3/2025           RSVP PARTY RENTALS 9LAS VEGAS            NV                  57    Event Rentals
3/3/2025           SCRIBD *653158551 SAN FRANCISCO               CA           11.99   Business Services
3/3/2025           SHELL SERVICE STATIOALISO VIEJO          CA               108.51   Transportation - Fuel
3/3/2025           SIMPLY TREE      8335999920         TX                     1038    Event Rentals
3/6/2025           RSVP PARTY RENTALS 9LAS VEGAS            NV                  70    Event Rentals
3/6/2025           TASKRABBIT* RECEIPT SAN FRANCISCO             CA          192.83   1099 Payroll
3/7/2025           RSVP PARTY RENTALS 9LAS VEGAS            NV               167.99   Event Rentals
3/7/2025           RSVP PARTY RENTALS 9LAS VEGAS            NV              1363.28   Event Rentals
3/7/2025           TASKRABBIT* RECEIPT SAN FRANCISCO             CA           74.83   1099 Payroll
3/7/2025           TASKRABBIT* RECEIPT SAN FRANCISCO             CA          226.03   1099 Payroll
3/9/2025           NYTimes.COM NY TIMES(800)698-4637             NY              7    Business Subscription
3/9/2025           VIM COFFEE CATERING NORTH LAS VEGAS                NV     2221.3   Event Vendor Services
3/14/2025          6621115 - DRAFTHOUSEOAKLAND               CA               60.51   Meals and Entertainment
3/14/2025          6621115 - DRAFTHOUSEOAKLAND               CA              127.72   Meals and Entertainment
3/22/2025          GOOGLE *GOOGLE ONE G.CO/HELPPAY#                   CA       2.11   Business Subscription
3/24/2025          GOOGLE *BOARDS COM G.CO/HELPPAY#                   CA      59.99   Business Subscription
3/26/2025          THE WEBSTAURANT STOR(717)392-7472              PA         108.78   Catering Equipment
3/27/2025          Interest Charge on Purchases                              551.46   Bank Fee
3/27/2025          JORDAN MARKET       LAGUNA HILLS         CA               366.49   Catering COGS LA
3/7/2025           Event Labor                                                 883    1099 Payroll
3/3/2025           TJ MAXX        ALISO VIEJO     CA                         614.92   Event Decor
                                                                           53581.22




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

          11766 Wilshire Blvd, Suite 730, Los Angeles, CA 90025

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF KEVÉN THIBEAULT
REGARDING POST-PETITION FINANCING ON AN UNSECURED BASIS (MARCH 2025), will be served or was served
(a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 29, 2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


        See attached NEF service list.


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                          , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 29, 2025                           Martha E. Araki                                         /s/ Martha E. Araki
 Date                                     Printed Name                                          Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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In re Kombu Kitchen SF LLC                                                                                       Case No. 2:23-bk-17276-BR


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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